                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 DARYL PERNELL CAMPS,                           )
                                                )
                 Defendant.                     )



       THIS MATTER is before the court on defendant’s Motion to Secure Documents Under

Seal (#144). Such motion reflects attempted consultation with opposing counsel and no objection

was interposed within the time allowed. LCrR 55.1; LCrR 47.1.

       Counsel for defendant seeks access to a number of documents in preparing an Amendment

782 motion on behalf of this defendant. Pursuant to an earlier request, this court ordered retrieval

of the paper record from the National Archives and made such file available at the court’s

divisional office in Asheville inasmuch as all counsel of record practice in Asheville. The

documents as to which counsel for defendant seeks access have been identified as items “one,”

“two,” and “three.”

       The court has, in an abundance of caution, conducted an in camera review of the documents

contained in the five-sealed envelopes identified as “item one” and determined as follows:

       1.      Document (#13) is defendant’s ex parte Motion for approval of additional hours for

trial preparation. While such motion was appropriately ex parte and sealed to protect defendant’s

trial strategy, such need no longer exists. Such document is, therefore, unsealed and the Clerk of

Court will be directed to scan such materials into ECF;

                                                    1

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       2.      Documents (#38, 38a, 42, 43, 44, 45, 49, 50, 51, 52, and 53) are all Motions for

issuance of trial subpoenas at government expense, related Orders and Writs, and subpoenas.

While the need for sealing based on protection of trial strategy from discovery by the government

has long passed, the court can see the need to continue the seal of such documents as they contain

some personal identifiers of witnesses and disclosure of the identities of such witnesses could still

pose a risk to the safety of such persons despite the passage of some 25 years. In making such

determination, the court has noted well the violent nature of the offenses of conviction. The court

will direct that such documents be scanned into ECF, but that such documents remain under seal

with access limited to counsel for this defendant and the government.

       3.      The fifth sealed envelope contains returns of service of subpoenas issued by the

court at the request of defendant. These documents received no court docket number. While the

need for sealing those documents based on protection of trial strategy from discovery by the

government has long passed, the court can see the need to continue the seal of such documents as

they contain some personal identifiers of witnesses and disclosure of the identities of such

witnesses could still pose a risk to the safety of such persons despite the passage of some 25 years.

In making such determination, the court has noted well the violent nature of the offenses of

conviction. The court will direct that such documents be scanned into ECF, but that such

documents remain under seal with access limited to counsel for this defendant and the government.

       4.      The court discovered a sixth sealed envelope which also contains returns of service

of subpoenas. These documents received no court docket number. While the need for sealing those

documents based on protection of trial strategy from discovery by the government has long passed,

the court can see the need to continue the seal of such documents as they contain some personal

identifiers of witnesses and disclosure of the identities of such witnesses could still pose a risk to



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the safety of such persons despite the passage of some 25 years. In making such determination,

the court has noted well the violent nature of the offenses of conviction. The court will direct that

such documents be scanned into ECF, but that such documents remain under seal with access

limited to counsel for this defendant and the government.

       As to item two, such is represented to be the PSR report. While defendant identifies the

PSR as docket entry “75a,” no such entry is found on the copy of the paper docket report the court

found on the left-hand side of the file. Instead, the court has found a docket entry for

PRESENTENCE REPORT (SEALED) with no corresponding docket number assigned, which

follows immediately after a docket entry “75” relating to a different matter. If the court recalls

correctly, in 1990 PSR reports were not placed in the court file, but retained by probation. The

lack of a corresponding docket number would indicate that the court did not retain the PSR as part

of its official record. (That practice has since changed.) In any event, if the PSR is contained in

the court record the court will direct that it remain sealed, but with access granted to counsel for

the defendant and the government. As the court has thoroughly searched the retrieved file for such

document, counsel may wish to inquire with the probation office as to whether such document is

available through their office.

       As to item three, the Statement of Reasons, the court routinely allows continued access to

such document by counsel for defendant and the government. The court will direct that the

Statement of Reasons found a Tab 77 be scanned into ECF, but that such document remain under

seal with access limited to counsel for this defendant and the government.

                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Secure Documents Under

Seal (#144) is GRANTED, and the Clerk of Court is instructed to scan in such documents as above



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              instructed and then reseal such envelopes noting thereon (as the court did when it opened such

              envelopes) the date such physical resealing occurred.

                      The Clerk of Court is instructed that in scanning such documents into ECF to simply

              continue with the next available number rather than attempt to go back and scan them in with their

              original docket numbers, but noting in the new docket entry the original number of the pleading if

              available.

Signed: November 5, 2015




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